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                     Doc. A
                           Form 13496
                 IRC Section 6020(b)
                    Certification
                                   Ellis
                                   2007
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                         Note: "Total pages certified as
                         valid section 6020(b) return" is
                         blank.
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                     Doc. B
                              AMDISA
                                   Ellis
                                   2007
                                                                               Doc. B
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                    Doc. D
      Revenue Officers’ Handbook
                             Lesson 23
                                                                               Doc. D
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                 COMPLETE
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                                   2007
                                                                                Doc. F
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                     Doc. G
                              TXMODA
                                    Ellis
                                    2007
                                                                                Doc. G
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                     Doc. H
            IMF MCC TRANSCRIPT
                 SPECIFIC
                                    Ellis
                                    2007
                                                                                Doc. H
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                       Doc. I
                             Form 4549
           Income Tax Examination
                  Changes
                                    Ellis
                                    2007
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                      Doc. J
                             Form 4340
          Certificate of Assessments
                                    Ellis
                                    2007
                                                                                  Doc. J
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(1)                                                                              (2)




(3)
                                                                                 Doc. J
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                     Doc. K
                  IRS FOIA Response
                 To Request for SFRs
                     Klaudia Villegas
                 Disclosure Manager
                  September 17, 2013
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                      Doc. L
        IRS Assistant Chief Counsel
              Internal Memorandum
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                                                                                    Doc. L
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       Internal Revenue Service                                                p. 1 of 5
       memorandum
            CC:DOM:IT&A:4                                   SCA 1998-053
            CRFrance % TL-N-7959-97WLI3                     UILC 6011.00-00
                                                                 6065.03-00

  date:     July 29, 1998

     to:    District Counsel, Houston
            Attn: Christina Moss

  from:     Assistant Chief Counsel (Income Tax & Accounting)


            Disclaimer Returns
subject:    Significant Service Center Advice

            This responds to your request for Significant Service Center
       Advice dated February 13, 1998, in connection with a question
       posed by the Austin Service Center.


                                  Disclosure Statement

            Unless specifically marked "Acknowledged Significant Advice,
       May Be Disseminated" above, this memorandum is not to be
       circulated or disseminated except as provided in CCDM
       (35)2(13)3:(4)(d) and (35)2(13)4:(1)(e). This document may
       contain confidential information subject to the attorney-client
       and deliberative process privileges. Therefore, this document
       shall not be disclosed beyond the office or individual(s) who
       originated the question discussed herein and are working the
       matter with the requisite "need to know." In no event shall it
       be disclosed to taxpayers or their representatives.

                                          ISSUE

            Whether a complete Form 1040 with an attachment to an
       otherwise effective penalties of perjury statement 1 (hereafter
       "addition") is a valid return for federal tax purposes.

                                       CONCLUSION

            A complete Form 1040 with an addition that denies tax
       liability is not a valid return because the addition negates the
       penalties of perjury statement. However, if the addition does


            1
               The use of the phrase otherwise effective penalties of
       perjury statement means the taxpayer signed the statement and did
       not make a change to it.
                                                                                 Doc. L
                                                                            Doc. L
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   not negate the statement, but merely makes a protest against
   taxes or other matters, the form is a valid return for federal
   tax purposes.

                                      FACTS

        A service center receives complete Forms 1040 with additions
   in which taxpayers protest the payment of taxes. Taxpayers
   usually call attention to the addition by (1) writing an asterisk
   on the return, either next to line 53 (total tax amount) or line
   64 (the tax amount owed) and (2) inserting on the second page of
   the return by lines 61-64 or on the bottom of the second page the
   following text: "The admitted liability is zero. See Attached
   Disclaimer Statement."

        In the examples you provided, all the additions state that
   the taxpayer denies liability for the tax shown on the Form 1040.
   In some cases, the taxpayer also includes $1,000 with the Form
   1040 and states in the addition the following: "payment in the
   amount of $1,000 as a voluntary contribution."

        The service center has experienced some uncertainty in its
   disposition of these sorts of forms. Because of this and the
   potential for inconsistent treatment and processing of these
   forms, you requested this significant service center advice.


                                   DISCUSSION
        Section 6001 of the Internal Revenue Code requires every
   person liable for tax to make a return and comply with the rules
   and regulations issued by the Internal Revenue Service.

        Section 6011 of the Code requires every person liable for
   tax imposed by title 26 to make a return according to the forms
   and regulations prescribed by the Service.

        Section 6065 of the Code and §1.6065-1(a) of the Income Tax
   Regulations require any return made under any provision of the
   internal revenue laws or regulations to contain or be verified by
   a written declaration that it is made under penalties of perjury.

        If a taxpayer fails to comply with section 6065 by
   submitting a return without the executed penalties of perjury
   statement, that return is a nullity. Lucas v. Pilliod Lumber
   Co., 281 U.S. 245 (1930). For example, in Hettig v. U.S., 845
   F.2d 794 (8th Cir. 1988), the court found that the taxpayer's
   return was a nullity because striking the words "under penalties
   of perjury" negated the penalties of perjury statement.
                                                                                 Doc. L
                                                                            Doc. L
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        A taxpayer can also negate the penalties of perjury
   statement with an addition. In Schmitt v. U.S., 140 B.R. 571
   (Bank W.D. Okl. 1992), the taxpayers filed a return with the
   following statement at the end of the penalties of perjury
   statement, "SIGNED UNDER DURESS, SEE STATEMENT ATTACHED." In the
   addition, the taxpayers denied liability for tax on wages. The
   Service argued that the statement, added to the "return",
   qualified the penalties of perjury statement, thus making the
   penalties of perjury statement ineffective and the return a
   nullity. Id. at 572.
        In agreeing with the Service, the court pointed out that the
   voluntary nature of our tax system requires the Service to rely
   on a taxpayer’s self-assessment and on a taxpayer’s assurance
   that the figures supplied are true to the best of his or her
   knowledge. Id. Accordingly, the penalties of perjury statement
   has important significance in our tax system. The statement
   connects the taxpayer’s attestation of tax liability (by the
   signing of the statement) with the Service’s statutory ability to
   summarily assess the tax.
        Similarly, in Sloan v. Comm’r, 53 F.3d 799 (7th Cir. 1995),
   cert. denied, 516 U.S. 897 (1995), the taxpayers submitted a
   return containing the words "Denial & Disclaimer attached as part
   of this form" above their signatures. In the addition, the
   taxpayers denied liability for any individual income tax. In
   determining the effect of the addition on the penalties of
   perjury statement, the court reasoned that it is a close question
   whether the addition negates the penalties of perjury statement
   or not. The addition, according to the court, could be read just
   to mean that the taxpayers reserve their right to renew their
   constitutional challenge to the federal income tax law. However,
   the court concluded that the addition negated the penalties of
   perjury statement. Id. at 800.
        In both Schmitt and Sloan the court questioned the purpose
   of the addition. Both courts found that the addition of
   qualifying language was intended to deny tax liability.
                                                                                 Doc. L
                                                                            Doc. L
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   Accordingly, this effect rendered the purported returns invalid. 2
        On the other hand, courts have acknowledged that taxpayers
   may make additions to the return to exercise their first
   amendment rights without negating the penalties of perjury
   statement. For example, in McCormick v. Comm’r, 94-1 U.S.T.C.
   ¶ 50,026 (E.D.N.Y. 1993), the taxpayer timely filed a complete
   return and signed it under penalties of perjury. Immediately
   below the penalties of perjury statement, the taxpayer added the
   statement "under protest." The Service did not treat the return
   as a valid return. The court found in favor of the taxpayer
   finding that the taxpayer was lodging a protest rather than
   denying tax liability. See also, Todd v. U.S., 849 F.2d 365 (9th
   Cir. 1988).

        These cases highlight the tension between a taxpayer's
   exercise of first amendment constitutional rights and a
   taxpayer's statutory obligation to file a tax return under
   penalties of perjury. If by making the addition the taxpayer
   both exercises a constitutionally protected right (to protest)
   and negates the penalties of perjury statement, courts have held
   that the statutory duty to file a tax return outweighs the small
   infringement, if any, on a taxpayer's first amendment right to
   protest. See Sloan, 53 F.3d at 800; Hettig, 845 F.2d at 795-96.

        You submitted several redacted Forms 1040 with additions for
   our consideration. To determine whether an addition to a Form
   1040 denies tax liability, the courts analyze the purpose of the
   addition. In each of the Forms 1040 you submitted for our
   review, the addition explicitly denies the tax liability set
   forth on the related return. These additions, therefore, negate
   the penalties of perjury statements and the Forms 1040 fail to
   constitute valid returns for federal tax purposes.

        When the service center receives a Form 1040 with an
   addition, we suggest the service center process the form as
   follows: Upon receipt of the form, the Code and Editing Function


         2
           Note, however, that in Penn Mutual Indem. Co. v. Comm’r ,
   32 T.C. 653 (1959), aff’d 277 F.2d 16 (3d Cir. 1960), the
   taxpayer filed an otherwise facially complete return showing a
   tax due. The taxpayer attached a letter to the return denying
   that it owed the tax, claiming the applicable taxing statute as
   unconstitutional. The court concluded that the taxpayer had
   filed a valid return. Thus, the court appeared to cast the
   return as a "no tax" return, meaning the reported tax liability
   is actually zero, rather than as a nullity. See id. at 668
   (Murdock, J., concurring).
                                                                                 Doc. L
                                                                            Doc. L
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   at the service center should promptly send the form to the
   Examination Function. If the Examination Function determines
   that a taxpayer’s addition denies tax liability (and, therefore,
   negates an otherwise effective penalties of perjury statement),
   the form is not a valid return, and penalties, such as the
   failure to file penalty, and interest would apply. The
   Examination Function should contact District Counsel regarding
   the disposition of forms containing ambiguous or doubtful
   additions.

        Moreover, if the return is not a valid return, the Service
   should issue a statutory notice of deficiency for any taxes due
   (including any amount determined by the taxpayer). This practice
   will protect the statute of limitations on assessment if a court
   subsequently decides that the form is a valid return.
        We trust this advice addresses your concerns satisfactorily.
   If you have any questions, please contact Ms. Renay France, an
   attorney of my staff, on 202-622-4940.




                                               By       /s/
                                               Rochelle L. Hodes
                                               Senior Technician Reviewer
                                               Branch 4


   cc:    Assistant Regional Counsel (TL), Midstates Region
          Assistant Regional Counsel (CT), Midstates Region
